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                         EXHIBI丁        4
      CUSttODY REDETERMINA丁 10N
                   QUEST10NAIRE
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                            UNITED STATES IMMIGRAT10N COURT
                              MIRA LOMA DETENT10N FACILiTY
                                  LANCASTER, CALIFORNIA
                         CUSTODY REDETERMINAT10N QUEST10NAIRE
                                                                        DATES´ 裁θ´‐
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           嘔上≦猿整L̲AGE3 電脅                                  NAT10NALITY      は θ̲1換 J12几^

ALIENes NAME:
ATTORINIEY/WA…                                          畦 TA:
CURRENT BOND8                                     AMQUNT REQUESTED:重 塾塵≧s逸 節堕重受量
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MARRo STATUS: r、 』九 MaJ           VISA,STATUS,IF ANY:̲LfR
FAMILY IN THE UoS./STATUS3


LEVEL OF EDUCAT10N:      懇 aC̲tヽ 。転
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LAST UoSo EMPLOYMENT e DATES:
PRIOR UoS. EMPLOYMENT a DATES:
PROPERTY OWNED:ミ lノ A                                                   ̲
ARRESTS/CONVICT10NS G DATES:




SItlUCCLING ACTIVITY:轟
PR10R INS HISTORY:
PRIOR APPEARANCE/tsoND i{IST0RY: N        lfir

POSSIBLE lrfAIVERS8


IÌMICRAT10N JUDGE'S NOTES:
